
934 N.E.2d 1005 (2010)
PEOPLE State of Illinois, respondent,
v.
Curtis LEACH, petitioner.
No. 108582.
Supreme Court of Illinois.
September 29, 2010.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, First District, is directed to vacate its judgment in People v. Leach, 391 Ill.App.3d 161, 330 Ill.Dec. 268, 908 N.E.2d 120 (2009). The appellate court is directed to reconsider its judgment in light of People v. Williams, ___ Ill.2d ___, ___ Ill.Dec. ___, ___ N.E.2d ___ (2010), to determine if a different result is warranted.
